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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

Vv. ) Criminal Action No. 21-161 (RBW)

)

DUSTIN BYRON THOMPSON and )
ROBERT LYON, )
)

Defendants. )

)

ORDER

On January 27, 2022, the Court issued a pre-trial scheduling order in this case, which,
inter alia, set a briefing schedule for the filing of any motions in limine. See Order at 2 (Jan. 27,
2022), ECF No. 51. On February 4, 2022, the deadline for the filing of motions in limine, the
government filed two motions: (1) a motion to admit evidence pursuant to Federal Rule of
Evidence 404(b) against defendant Dustin Byron Thompson, see Government’s Motion in
Limine to Admit Evidence Under Federal Rule of Evidence 404(b) at 1, ECF No. 55; and (2) a
motion for an order prohibiting the defendants “from asking any question, introducing any
evidence, or making any statement or argument, either directly or indirectly, concerning” an alibi

defense, an insanity defense, potential sentences, or jury nullification, see United States’

 

Omnibus Motion in Limine and Incorporated Memorandum in Support at 1, ECF No. 54.
Pursuant to the Court’s January 27, 2022 Order, the defendants’ responses to the government’s
motions were due on or before February 18, 2022, see Order at 2 (Jan. 27, 2022), but, as of this

date, the defendants have not filed any response.
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Accordingly, it is hereby
ORDERED that, on or before March 1, 2022, the defendants shall notify the Court as to
(1) whether they concede the government’s motions in limine; and (2) if they do not concede the

motions, the reasons why they failed to timely file their oppositions.

REGGIE B. WALTON
United States District Judge

SO ORDERED this 22nd day of February, 2022.

    
 

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